
GLADNEY, Judge.
The issues of both fact and law presented in this case are not different from those presented in Johnson v. El Dorado Creosoting Company and Coal Operators Casualty Company, La.App., 71 So.2d 613. Our findings therein are decisive in the instant case.
The judgment from which appealed is reversed and set aside insofar as it overruled the exception to the jurisdiction ratione personae filed by the El Dorado Creosoting Company, Inc., and it is ordered that said exception be sustained as to the above named defendant, and plaintiff’s suit be and is hereby dismissed as of non-suit at plaintiff’s cost. In all other respects the judgment is affirmed at plaintiff’s cost.
AYRES, J., is recused.
